                                                           FILED: March 5, 2024


                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


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                                        No. 21-1255
                                    (1:20-cv-03495-JKB)
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DOMINIC BIANCHI, an individual and resident of Baltimore County; DAVID
SNOPE, an individual and resident of Baltimore County; MICAH SCHAEFER,
an individual and resident of Anne Arundel County; FIELD TRADERS LLC, A
resident of Anne Arundel County; FIREARMS POLICY COALITION, INC.;
SECOND AMENDMENT FOUNDATION; CITIZENS COMMITTEE FOR
THE RIGHT TO KEEP AND BEAR ARMS

               Plaintiffs - Appellants

v.

ANTHONY G. BROWN, in his official capacity as Attorney General of
Maryland; COL. WOODROW W. JONES, III, in his official capacity as Secretary
of State Police of Maryland; R. JAY FISHER, in his official capacity as Sheriff of
Baltimore County, Maryland; JIM FREDERICKS, in his official capacity as
Sheriff of Anne Arundel County, Maryland

               Defendants - Appellees

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JOHN CUTONILLI

               Amicus Supporting Appellants

and
GIFFORDS LAW CENTER TO PREVENT GUN VIOLENCE; BRADY
CENTER TO PREVENT GUN VIOLENCE; MARCH FOR OUR LIVES


             Amici Supporting Appellees

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                                   ORDER
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      This case is scheduled for oral argument on March 20, 2024.

      The parties are directed to file supplemental briefs specifically addressing the

following issue:

      Whether the inquiry into a weapon’s “common use” occurs at the first
      step or second step of the framework articulated in New York State Rifle
      & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022). In
      answering that question, the parties are to address who has the burden
      of establishing a weapon’s “common use.”
      The parties may submit simultaneous briefs, not exceeding ten pages, on or

before Tuesday, March 12, 2024.




                                       For the Court

                                       /s/ Nwamaka Anowi, Clerk
